Case 9:24-cr-80116-AMC Document 75 Entered on FLSD Docket 11/22/2024 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 24-80116-CR-CANNON/McCabe



  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

              Defendant.
  ___________________________________/

                GOVERNMENT=S REVISED UNOPPOSED MOTION TO
        STRIKE AND REPLACE ATTACHMENTS 1 AND 2 TO DOCKET ENTRY 73

         The United States, by and through the undersigned government attorneys, files this revised

  motion to strike attachment numbers 1 and 2 of Docket Entry 73 and replace with redacted versions

  of those same attachments.

         In support of its revised motion, the United States provides as follows: On November 21,

  2024, the United States filed its Third Response to the Standing Discovery Order [D.E. 73]. That

  filing contained two attachments. Those attachments are indices that detail the contents of the

  items disclosed as part of the Third Response. Attachment numbers 1 and 2 of Docket Entry 73

  were inadvertently filed in unredacted form and contain sensitive information.

         The United States respectfully requests that Attachment numbers 1 and 2 of Docket Entry

  73 be stricken and removed from the docket and replaced with the attached redacted versions. The

  United States further requests that the Court deny the Government’s previously filed Motion to

  Strike at [D.E.] 74 as moot.




                                                  1
Case 9:24-cr-80116-AMC Document 75 Entered on FLSD Docket 11/22/2024 Page 2 of 3




        Undersigned has conferred with counsel for the Defendant and they do not oppose this

  motion.


                                            Respectfully submitted,

                                            MARKENZY LAPOINTE
                                            UNITED STATES ATTORNEY

                                   By:    /s/Maria K. Medetis
                                          Maria K. Medetis
                                          Florida Bar No. 1012329
                                          John C. Shipley
                                          Florida Bar No. 69670
                                          Christopher B. Browne
                                          Florida Bar No. 91337
                                          Mark Dispoto
                                          Court Id. Number A5501143
                                          Assistant United States Attorneys

                                          U.S. Attorney’s Office
                                          Southern District of Florida
                                          99 Northeast 4th Street, 8th Floor
                                          Miami, Florida 33132-2111
                                          Telephone: (305) 961-9020
                                          E-mail: maria.medetis@usdoj.gov

                                          MATTHEW G. OLSEN
                                          ASSISTANT ATTORNEY GENERAL

                                   By:    /s/ David C. Smith
                                          David C. Smith, Trial Attorney
                                          Court ID No. A5503278
                                          Department of Justice, National Security Division
                                          950 Pennsylvania Avenue, NW
                                          Washington, DC 20530
                                          Telephone: (202) 514-0849
                                          Email: David.Smith5@usdoj.gov




                                             2
Case 9:24-cr-80116-AMC Document 75 Entered on FLSD Docket 11/22/2024 Page 3 of 3




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on November 22, 2024.

                                                    /s/Maria K. Medetis
                                                    Assistant United States Attorney




                                             3
